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                              CONSOLIDATED LIST OF CREDITORS HOLDING
                                THE FIFTY LARGEST UNSECURED CLAIMS

                    Following is a list of the Debtors’ creditors holding the fifty largest unsecured
     claims on a consolidated basis with its debtor-affiliates.1 The list is prepared in accordance with
     Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing a chapter 11 case. This list
     does not include (1) persons who come within the definition of an “insider” set forth in 11 U.S.C.
     § 101(31), or (2) secured creditors, unless the value of the collateral is such that the unsecured
     deficiency places the creditor among the holders of the fifty largest unsecured claims.

                                                                                             Contingent,
                                                  Person(s) Familiar
         Name, Address, Phone and Fax                                                        Unliquidated     Approximate
                                                    with Debtors’         Nature of Claim
                No. of Creditor                                                                and/or        Amount of Claim
                                                       Account
                                                                                              Disputed

     General Motors Corporation
     300 Renaissance Center
     P.O. Box 300
     Detroit, MI 48265-3000                                                                   Contingent
                                                                          Trade, Warranty,
1.                                                John Devine, CFO                               and             Unknown
                                                                             and Other
                                                                                             Unliquidated
     Tel: 313-665-4898 (Legal)
     Tel: 313-556-5000 (Main)
     Fax: 517-272-3709

     International Union of Electronic,
     Electrical, Salaried, Machine and
     Furniture Workers –
     Communications Workers of
     America                                                                                  Contingent
                                                    James D. Clark,         Wages and
2.   501 3rd Street N.W., 6th Floor                                                              and             Unknown
                                                       President             Benefits
     Washington, D.C. 20001                                                                  Unliquidated

     Tel: 202-434-1156
     Fax: 202-434-1343


     Pension Benefit Guaranty Corp
     1200 K Street, N.W.
                                                                                              Contingent
     Washington, D.C. 20005                      Jeffrey Cohen, Chief
3.                                                                           Guaranty            and             Unknown
                                                        Counsel
                                                                                             Unliquidated
     Tel: 202-326-4020
     Fax: 202-326-4112




     1
         All claims of affiliates are reported on a consolidated basis.
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                                                                                Contingent,
                                        Person(s) Familiar
      Name, Address, Phone and Fax                                              Unliquidated     Approximate
                                          with Debtors’       Nature of Claim
             No. of Creditor                                                      and/or        Amount of Claim
                                             Account
                                                                                 Disputed

     United Auto Workers
     8000 E. Jefferson
                                        Richard Shoemaker,
     Detroit, MI 48214                                                           Contingent
                                         Vice President &       Wages and
4.                                                                                  and             Unknown
                                           Director GM           Benefits
     Tel: 313-926-5000                                                          Unliquidated
                                            Department
     Fax: 313-823-6016


     United Steel Workers
     5 Gateway Center
     Pittsburgh, PA 15222                                                        Contingent
                                          Leo W. Gerard,        Wages and
5.                                                                                  and             Unknown
                                            President            Benefits
     Tel: 412-562-2400                                                          Unliquidated
     Fax: 412-562-2484


     Wilmington Trust Company
     Corporate Trust Office
     1100 North Market Street Rodney
     Square North,
                                        Steven M. Cimalore,
6.   Wilmington, DE 19890                                         Notes                           $2,000,000,000
                                           Vice President
     Tel: 302-636-6058
     Fax: 302-636-4143



     Law Debenture Trust Company of
     New York
     Corporate Trust Office
     780 Third Ave, 31st Floor
     New York, NY 10017

     Tel: 212-750-6474
                                          Patrick Healy,
     Fax: 212-750-1361
                                          Vice President
                                                                  Junior
     and
7.                                             and             Subordinated                       $412,371,975
                                                                  Notes
     Wilmington Trust Company
                                        Steven M. Cimalore,
     Corporate Trust Office
                                           Vice President
     1100 North Market Street Rodney
     Square North,
     Wilmington, DE 19890

     Tel: 302-636-6058
     Fax: 302-636-4143
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                                                                                          Contingent,
                                                Person(s) Familiar
        Name, Address, Phone and Fax                                                      Unliquidated     Approximate
                                                  with Debtors’         Nature of Claim
               No. of Creditor                                                              and/or        Amount of Claim
                                                     Account
                                                                                           Disputed

      Flextronics International Asia Pacific
      2 Robbins Road                             Joe Minville, Sr.
      Westford, MA 01886                        Director, Business
8.                                                                          Trade                            $40,781,535
                                               Development, Global
      Tel: 978-392-3015                        Automotive Markets
      Fax: 978-392-3011

      Freescale Semiconductor Inc              Paul Grimme, Senior
      6501 William Cannon Drive West            Vice President and
      Austin, TX 78735-8598                     General Manager,
9.                                                                          Trade                            $22,710,027
                                                Transportation and
      Tel: 512-895-2093                         Standard Products
      Fax: 512-895-8746                               Group

      Robert Bosch Corporation
      38000 Hills Tech Drive
                                                Linda Lynch, Sales
      Farmington Hills, MI 48331-3417
10.                                             Manager, General            Trade                            $15,069,265
                                                   Motors N.A.
      Tel: 248-848-2555
      Fax: 248-848-6505

      Siemens Automotive Ltd
      2400 Executive Hill Blvd.
                                                Peter H. Huizinga,
      Auburn Hills, MI 48326-2980
11.                                            Sales Manager, North         Trade                            $13,619,300
                                                  American Sales
      Tel: 248-209-5874
      Fax: 248-209-7877

      PBR Automotive USA Pacific Group
      Ltd
      140 Ellen Drive
12.   Orion Township, MI 48359                   Gordon Diag, VP            Trade                            $10,542,285

      Tel: 248-340-1290
      Fax: 248-377-4939

      DMC 2 Canada Corporation
      2347 Commercial Drive
      Auburn Hills, MI 48326
13.                                            Bill Staron, Senior VP       Trade                            $8,976,696
      Tel: 248-292-2261
      Fax: 248-340-2471
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                                                                                   Contingent,
                                          Person(s) Familiar
       Name, Address, Phone and Fax                                                Unliquidated     Approximate
                                            with Debtors’        Nature of Claim
              No. of Creditor                                                        and/or        Amount of Claim
                                               Account
                                                                                    Disputed

      NEC Electronics Inc
      Three Galleria Tower
      13155 Noel Road, Ste 1100            Jim Trent, General
14.   Dallas, TX 75240                    Manager, Automotive        Trade                            $8,896,819
                                                 SBU
      Tel: 972-855-5126
      Fax: 972-655-5133

      HSS LLC
      5446 Dixie Highway
      Saginaw, MI 48601                      David Bader,
15.                                                                  Trade                            $8,296,550
                                              President
      Tel: 989-777-2983
      Fax: 989-777-4818

      Tyco Electronics Corp

      Amperestrabe 12-14
      Bensheim, Germany D-64625
                                             Dr. Jurgen W.
      Tel: 49-0-62-51-133-1-202              Gromer, Vice
      Fax: 49-0-62-51-133-1-548              President Tyco
16.                                        International Ltd.,       Trade                            $8,278,304
      and                                  President and CEO
                                            Tyco Electronics
      P.O. Box 3608                               Corp.
      Harrisburg, PA 17105-3608

      Tel: 717-592-2298
      Fax: 717-592-7555

      Molex Inc
      222 Wellington Court                   Ron Schubel,
      Lisle, IL 60532-1682                  Executive Vice
17.                                                                  Trade                            $8,014,656
                                          President, President
      Tel: 630-718-5888                    Americas Region
      Fax: 630-813-5888

      Panasonic Automotive
      26455 American Drive
                                           Vince Sarrecchia,
      Southfield, MI 48034
18.                                           President,             Trade                            $7,429,854
                                             Headquarters
      Tel: 248-447-7111
      Fax: 248-447-7008
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                                                                                     Contingent,
                                           Person(s) Familiar
       Name, Address, Phone and Fax                                                  Unliquidated     Approximate
                                             with Debtors’         Nature of Claim
              No. of Creditor                                                          and/or        Amount of Claim
                                                Account
                                                                                      Disputed

      Olin Corp
      427 N Shamrock Street
      East Alton, IL 62024-1174            Devin Denner, Sales
19.                                                                    Trade                            $7,231,721
                                                Manager
      Tel: 618-258-26664
      Fax: 618-258-3481

      Methode Electronics Inc
      7401 W. Wilson
      Chicago, IL 60706
20.                                        Don Duda, President         Trade                            $6,397,471
      Tel: 708-867-6777
      Fax: 708-867-3288

      SGS Thompson
      Victor Park West
      19575 Victor Parkway
                                           Scott Shilling, Sales
21.   Livonia, MI 48152                                                Trade                            $6,386,126
                                                 Director
      Tel: 734-953-1711
      Fax: 734-462-4034

      Philips Semiconductors
      1817 Dogwood Drive
                                            Sam L. Trency,
      Kokomo, IN 46902
22.                                         Global Account             Trade                            $6,242,258
                                           Manager, Kokomo
      Tel: 765-868-3861
      Fax: 765-452-9915

      Infineon Technologies

      P.O. Box 80 09 49
      Munich, Germany 81609
                                              Peter Bauer,
      Tel: 49-0-89-234-8-52-00
23.                                          Executive Vice            Trade                            $5,582,352
      Fax: 49-0-89-234-8-52-02
                                               President
      and

      St.-Martin-Strasse 53
      Munich, Germany 81669
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                                                                                    Contingent,
                                           Person(s) Familiar
       Name, Address, Phone and Fax                                                 Unliquidated     Approximate
                                             with Debtors’        Nature of Claim
              No. of Creditor                                                         and/or        Amount of Claim
                                                Account
                                                                                     Disputed

      Aw Transmission Engineering Aisin   Ryo Ishibashi, Sales
      Seiki Co Ltd                              Contact
      Metro West Industrial Park
      14933 Keel St                               and
      Plymouth, MI 48170
24.                                           Kenji Ito, VP           Trade                            $5,509,700
      Tel: 734-416-1162
      Fax: 734-416-3844                           and

                                           Larry Khaykin, Sr.
                                            Sales Manager

      Applied Bio Systems
      850 Lincoln Centre Drive
      Foster City, CA 94404
25.                                          Ann Wagoner              Trade                            $5,491,366
      Tel: 650-638-6431
      Fax: 650-638-5998

      Alps Automotive Inc
      1500 Atlantic Blvd.
                                             Muneki Ishida,
      Auburn Hills, MI 48326
26.                                          General Sales            Trade                            $5,182,441
                                               Manager
      Tel: 248-393-7626
      Fax: 248-391-1564

      Texas Instruments Inc
      12900 North Meridian Street
      Suite 175 Ms 4070                   Brent Mewhinney, US
27.   Carmel, IN 46032                      Automotive Sales          Trade                            $5,041,608
                                                Manager
      Tel: 317-574-2626
      Fax: 317-573-6410

      Hitachi Automotive

      955 Warwick Rd
      Harrodsburg, KY 40330

      Tel: 248-482-0085                   Darrell Seitz, Senior
28.                                                                   Trade                            $4,979,093
      Fax: 248-474-5097                    Account Manager

      and

      34500 Grand River Avenue
      Farmington Hills, MI 48335
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                                                                                      Contingent,
                                            Person(s) Familiar
       Name, Address, Phone and Fax                                                   Unliquidated     Approximate
                                              with Debtors’         Nature of Claim
              No. of Creditor                                                           and/or        Amount of Claim
                                                 Account
                                                                                       Disputed

      Sharp Electronics Corp
      2613-1, Chinomoto, Cho, Tenri
                                           Akihiko Imaya, Group
      Nara, Japan 632-8567
29.                                           Deputy General            Trade                            $4,974,247
                                                 Manager
      Tel: 81-XXX-XX-XXXX
      Fax: 81-XXX-XX-XXXX

      Semiconductor Components
      2000 S County Trail
      East Greenwich, RI 02818               Lance Williams,
30.                                                                     Trade                            $4,865,672
                                             Director of Sales
      Tel: 734-953-6848
      Fax: 734-953-6860

      TRW Automotive
      12000 Tech Center Drive
      Livonia, MI 48150                       John Nielsen,
31.                                                                     Trade                            $4,821,907
                                              Director, Sales
      Tel: 734-266-3507
      Fax: 734-266-5704

      ISI of Indiana Inc
      1212 East Michigan St.
      Indianapolis, IN 46202
32.                                          Brad Countryman            Trade                            $4,760,039
      Tel: 317-631-7980
      Fax: 317-631-7981

      Traxle Manufacturing Ltd
      25300 Telegraph Rd.
      Ste 450 Raleigh Office Center
                                           Russ Pollack, Director
33.   Southfield, MI 48034                                              Trade                            $4,744,747
                                                 of Sales
      Tel: 248-355-3533
      Fax: 248-355-3558

      Waupaca Foundry Inc
      311 S Tower Rd
      Waupaca, WI 54981-0249
34.                                        Gary Thoe, Chairman          Trade                            $4,684,195
      Tel: 715-258-6611
      Fax: 715-258-1712
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                                                                                  Contingent,
                                           Person(s) Familiar
       Name, Address, Phone and Fax                                               Unliquidated     Approximate
                                             with Debtors’      Nature of Claim
              No. of Creditor                                                       and/or        Amount of Claim
                                                Account
                                                                                   Disputed

      Hitachi Chemical Asia Pacific

      Bedok Plant: 20, Bedock South Road
      Singapore, Singapore 469277

      Tel: 6241-9811
      Fax: 5455-407                        Y. Yokoya, Deputy
35.                                                                 Trade                            $4,562,688
                                           Managing Director
      and

      Loyang Plant: 32, Loyang Way
      Singapore, Singapore 508730

      Tel: 6542-8511

      American Axle & Manufacturing
                                             Joel Robinson
      Inc.
                                               President
      One Dauch Drive
36.   Detroit, MI 48211-1198                                        Trade                            $4,525,561
                                                  and
      Tel: 313-758-4217
                                             Bob Finn, CEO
      Fax: 313-974-2870

      TDK Corporation Of America
      1221 Business Center Drive
      Mount Prospect, IL 60056              Frank H. Avant,
37.                                                                 Trade                            $4,466,206
                                               President
      Tel: 847-803-6100
      Fax: 847-803-1125

      Pioneer Industrial Components
      (Pioneer Automotive Electronics
      Sales, Inc.)
      22630 Haggerty Road                   Kevin M. Martin
38.                                                                 Trade                            $4,189,855
      Farmington, MI 48335                  Senior VP, Sales

      Tel: 248-449-6799
      Fax: 248-449-1940

      Fujitsu Ten Corporation
      46029 Five Mile Road
                                           Chet Korzeniewski
      Plymouth, MI 48170
39.                                         V.P., Sales and         Trade                            $4,156,580
                                               Marketing
      Tel: 734-414-6651
      Fax: 734-414-6660
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                                                                                    Contingent,
                                           Person(s) Familiar
       Name, Address, Phone and Fax                                                 Unliquidated     Approximate
                                             with Debtors’        Nature of Claim
              No. of Creditor                                                         and/or        Amount of Claim
                                                Account
                                                                                     Disputed

      Solectron De Mexico SA de CV
      Solectron Invotronics
      26525 American Drive
                                             Ed Mike, Sales
40.   Southfield, MI 48034                                            Trade                            $4,129,744
                                                Manager
      Tel: 248-263-8714
      Fax: 248-263-8701

      TI Group Automotive System
      12345 E Nine Mile
      Warren, MI 48090                     Tim Kuppler, Vice
41.                                                                   Trade                            $3,990,388
                                               President
      Tel: 586-755-8312
      Fax: 586-427-3175

      Timken Company
      31100 Telegraph Road, Suite 270
      Bingham Farms, MI 48025             Brian Ruel, Director,
42.                                                                   Trade                            $3,619,957
                                                 Sales
      Tel: 248-554-4882
      Fax: 248-433-2253

      Engelhard Corporation
      101 Wood Ave
      Iselin, NJ 08830                    Barry Perry, Chairman
43.                                                                   Trade                            $3,577,915
                                                 & CEO
      Tel: 732-205-6497
      Fax: 732-906-0337

      Cataler North America Corp.
      7800 Chihama
      Kakegawa-City Shizuoka, Japan          Hironobu Ono,
44.                                                                   Trade                            $3,462,855
                                               President
      Tel: 81-XXX-XX-XXXX
      Fax: 81-XXX-XX-XXXX

      Pechiney Rolled Products
      39111 W Six Mile Rd.
      Livonia, MI 48152                      Jim Offer, Sales
45.                                                                   Trade                            $3,393,879
                                                Manager
      Tel: 734-632-8484
      Fax: 734-632-8483

      Autocam Corporation
      East Paris Avenue
      Kentwood, MI 49512                    Scott Dekoker,
46.                                                                   Trade                            $3,352,518
                                           Customer Manager
      Tel: 616-541-8551
      Fax: 616-698-6876
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                                                                                Contingent,
                                        Person(s) Familiar
       Name, Address, Phone and Fax                                             Unliquidated     Approximate
                                          with Debtors’       Nature of Claim
              No. of Creditor                                                     and/or        Amount of Claim
                                             Account
                                                                                 Disputed

      Futaba Corp Of America
      2865 Wall Triana Hwy
      Huntsville, AL 35824                Joe M. Dorris,
47.                                                               Trade                            $3,350,622
                                            President
      Tel: 256-461-7348
      Fax: 256-461-7741

      Victory Packaging
      3555 Timmons Lane
      Suite 1440
                                           Robert Egan,
48.   Houston, TX 77027                                           Trade                            $3,327,441
                                            President
      Tel: 713-961-3299
      Fax: 713-961-3824

      Murata Electronics North
      2200 Lake Park Drive
                                        David M. McGinnis,
      Smyrna, GA 30080-7604
49.                                     Director Automotive       Trade                            $3,234,841
                                               Sales
      Tel: 770-433-7846
      Fax: 678-842-6625

      Niles USA Inc                      Michael Rudnicki,
      41129 Jo Drive                     Account Manager
      Novi, MI 48375
                                               and
50.                                                               Trade                            $3,171,181
      Tel: 248-427-9700
      Fax: 248-427-9701                    Scot McColl,
                                           Business Unit
                                             Manager
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       DECLARATION CONCERNING THE DEBTOR’S LIST OF CREDITORS
            HOLDING THE FIFTY LARGEST UNSECURED CLAIMS

                I, John D. Sheehan, am the Vice President and Chief Restructuring Officer of
Delphi Corporation and in such capacity am familiar with the financial affairs of the Debtors. I
have reviewed the foregoing List of Creditors Holding the Fifty Largest Unsecured Claims, and
declare that the information contained therein is true and correct to the best of my knowledge,
belief and understanding.

Dated: October 8, 2005



                                                    s/ John D. Sheehan
                                                    John D. Sheehan
                                                    Vice President and Chief
                                                          Restructuring Officer

                                                          Delphi Corporation
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                              CONSOLIDATED LIST OF CREDITORS HOLDING
                                THE FIFTY LARGEST UNSECURED CLAIMS

                    Following is a list of the Debtors’ creditors holding the fifty largest unsecured
     claims on a consolidated basis with its debtor-affiliates.1 The list is prepared in accordance with
     Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing a chapter 11 case. This list
     does not include (1) persons who come within the definition of an “insider” set forth in 11 U.S.C.
     § 101(31), or (2) secured creditors, unless the value of the collateral is such that the unsecured
     deficiency places the creditor among the holders of the fifty largest unsecured claims.

                                                                                             Contingent,
                                                  Person(s) Familiar
         Name, Address, Phone and Fax                                                        Unliquidated     Approximate
                                                    with Debtors’         Nature of Claim
                No. of Creditor                                                                and/or        Amount of Claim
                                                       Account
                                                                                              Disputed

     General Motors Corporation
     300 Renaissance Center
     P.O. Box 300
     Detroit, MI 48265-3000                                                                   Contingent
                                                                          Trade, Warranty,
1.                                                John Devine, CFO                               and             Unknown
                                                                             and Other
                                                                                             Unliquidated
     Tel: 313-665-4898 (Legal)
     Tel: 313-556-5000 (Main)
     Fax: 517-272-3709

     International Union of Electronic,
     Electrical, Salaried, Machine and
     Furniture Workers –
     Communications Workers of
     America                                                                                  Contingent
                                                    James D. Clark,         Wages and
2.   501 3rd Street N.W., 6th Floor                                                              and             Unknown
                                                       President             Benefits
     Washington, D.C. 20001                                                                  Unliquidated

     Tel: 202-434-1156
     Fax: 202-434-1343


     Pension Benefit Guaranty Corp
     1200 K Street, N.W.
                                                                                              Contingent
     Washington, D.C. 20005                      Jeffrey Cohen, Chief
3.                                                                           Guaranty            and             Unknown
                                                        Counsel
                                                                                             Unliquidated
     Tel: 202-326-4020
     Fax: 202-326-4112




     1
         All claims of affiliates are reported on a consolidated basis.
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                                                                                Contingent,
                                        Person(s) Familiar
      Name, Address, Phone and Fax                                              Unliquidated     Approximate
                                          with Debtors’       Nature of Claim
             No. of Creditor                                                      and/or        Amount of Claim
                                             Account
                                                                                 Disputed

     United Auto Workers
     8000 E. Jefferson
                                        Richard Shoemaker,
     Detroit, MI 48214                                                           Contingent
                                         Vice President &       Wages and
4.                                                                                  and             Unknown
                                           Director GM           Benefits
     Tel: 313-926-5000                                                          Unliquidated
                                            Department
     Fax: 313-823-6016


     United Steel Workers
     5 Gateway Center
     Pittsburgh, PA 15222                                                        Contingent
                                          Leo W. Gerard,        Wages and
5.                                                                                  and             Unknown
                                            President            Benefits
     Tel: 412-562-2400                                                          Unliquidated
     Fax: 412-562-2484


     Wilmington Trust Company
     Corporate Trust Office
     1100 North Market Street Rodney
     Square North,
                                        Steven M. Cimalore,
6.   Wilmington, DE 19890                                         Notes                           $2,000,000,000
                                           Vice President
     Tel: 302-636-6058
     Fax: 302-636-4143



     Law Debenture Trust Company of
     New York
     Corporate Trust Office
     780 Third Ave, 31st Floor
     New York, NY 10017

     Tel: 212-750-6474
                                          Patrick Healy,
     Fax: 212-750-1361
                                          Vice President
                                                                  Junior
     and
7.                                             and             Subordinated                       $412,371,975
                                                                  Notes
     Wilmington Trust Company
                                        Steven M. Cimalore,
     Corporate Trust Office
                                           Vice President
     1100 North Market Street Rodney
     Square North,
     Wilmington, DE 19890

     Tel: 302-636-6058
     Fax: 302-636-4143
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                                                                                          Contingent,
                                                Person(s) Familiar
        Name, Address, Phone and Fax                                                      Unliquidated     Approximate
                                                  with Debtors’         Nature of Claim
               No. of Creditor                                                              and/or        Amount of Claim
                                                     Account
                                                                                           Disputed

      Flextronics International Asia Pacific
      2 Robbins Road                             Joe Minville, Sr.
      Westford, MA 01886                        Director, Business
8.                                                                          Trade                            $40,781,535
                                               Development, Global
      Tel: 978-392-3015                        Automotive Markets
      Fax: 978-392-3011

      Freescale Semiconductor Inc              Paul Grimme, Senior
      6501 William Cannon Drive West            Vice President and
      Austin, TX 78735-8598                     General Manager,
9.                                                                          Trade                            $22,710,027
                                                Transportation and
      Tel: 512-895-2093                         Standard Products
      Fax: 512-895-8746                               Group

      Robert Bosch Corporation
      38000 Hills Tech Drive
                                                Linda Lynch, Sales
      Farmington Hills, MI 48331-3417
10.                                             Manager, General            Trade                            $15,069,265
                                                   Motors N.A.
      Tel: 248-848-2555
      Fax: 248-848-6505

      Siemens Automotive Ltd
      2400 Executive Hill Blvd.
                                                Peter H. Huizinga,
      Auburn Hills, MI 48326-2980
11.                                            Sales Manager, North         Trade                            $13,619,300
                                                  American Sales
      Tel: 248-209-5874
      Fax: 248-209-7877

      PBR Automotive USA Pacific Group
      Ltd
      140 Ellen Drive
12.   Orion Township, MI 48359                   Gordon Diag, VP            Trade                            $10,542,285

      Tel: 248-340-1290
      Fax: 248-377-4939

      DMC 2 Canada Corporation
      2347 Commercial Drive
      Auburn Hills, MI 48326
13.                                            Bill Staron, Senior VP       Trade                            $8,976,696
      Tel: 248-292-2261
      Fax: 248-340-2471
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                                                                                   Contingent,
                                          Person(s) Familiar
       Name, Address, Phone and Fax                                                Unliquidated     Approximate
                                            with Debtors’        Nature of Claim
              No. of Creditor                                                        and/or        Amount of Claim
                                               Account
                                                                                    Disputed

      NEC Electronics Inc
      Three Galleria Tower
      13155 Noel Road, Ste 1100            Jim Trent, General
14.   Dallas, TX 75240                    Manager, Automotive        Trade                            $8,896,819
                                                 SBU
      Tel: 972-855-5126
      Fax: 972-655-5133

      HSS LLC
      5446 Dixie Highway
      Saginaw, MI 48601                      David Bader,
15.                                                                  Trade                            $8,296,550
                                              President
      Tel: 989-777-2983
      Fax: 989-777-4818

      Tyco Electronics Corp

      Amperestrabe 12-14
      Bensheim, Germany D-64625
                                             Dr. Jurgen W.
      Tel: 49-0-62-51-133-1-202              Gromer, Vice
      Fax: 49-0-62-51-133-1-548              President Tyco
16.                                        International Ltd.,       Trade                            $8,278,304
      and                                  President and CEO
                                            Tyco Electronics
      P.O. Box 3608                               Corp.
      Harrisburg, PA 17105-3608

      Tel: 717-592-2298
      Fax: 717-592-7555

      Molex Inc
      222 Wellington Court                   Ron Schubel,
      Lisle, IL 60532-1682                  Executive Vice
17.                                                                  Trade                            $8,014,656
                                          President, President
      Tel: 630-718-5888                    Americas Region
      Fax: 630-813-5888

      Panasonic Automotive
      26455 American Drive
                                           Vince Sarrecchia,
      Southfield, MI 48034
18.                                           President,             Trade                            $7,429,854
                                             Headquarters
      Tel: 248-447-7111
      Fax: 248-447-7008
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                                                                                     Contingent,
                                           Person(s) Familiar
       Name, Address, Phone and Fax                                                  Unliquidated     Approximate
                                             with Debtors’         Nature of Claim
              No. of Creditor                                                          and/or        Amount of Claim
                                                Account
                                                                                      Disputed

      Olin Corp
      427 N Shamrock Street
      East Alton, IL 62024-1174            Devin Denner, Sales
19.                                                                    Trade                            $7,231,721
                                                Manager
      Tel: 618-258-26664
      Fax: 618-258-3481

      Methode Electronics Inc
      7401 W. Wilson
      Chicago, IL 60706
20.                                        Don Duda, President         Trade                            $6,397,471
      Tel: 708-867-6777
      Fax: 708-867-3288

      SGS Thompson
      Victor Park West
      19575 Victor Parkway
                                           Scott Shilling, Sales
21.   Livonia, MI 48152                                                Trade                            $6,386,126
                                                 Director
      Tel: 734-953-1711
      Fax: 734-462-4034

      Philips Semiconductors
      1817 Dogwood Drive
                                            Sam L. Trency,
      Kokomo, IN 46902
22.                                         Global Account             Trade                            $6,242,258
                                           Manager, Kokomo
      Tel: 765-868-3861
      Fax: 765-452-9915

      Infineon Technologies

      P.O. Box 80 09 49
      Munich, Germany 81609
                                              Peter Bauer,
      Tel: 49-0-89-234-8-52-00
23.                                          Executive Vice            Trade                            $5,582,352
      Fax: 49-0-89-234-8-52-02
                                               President
      and

      St.-Martin-Strasse 53
      Munich, Germany 81669
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                                                                                    Contingent,
                                           Person(s) Familiar
       Name, Address, Phone and Fax                                                 Unliquidated     Approximate
                                             with Debtors’        Nature of Claim
              No. of Creditor                                                         and/or        Amount of Claim
                                                Account
                                                                                     Disputed

      Aw Transmission Engineering Aisin   Ryo Ishibashi, Sales
      Seiki Co Ltd                              Contact
      Metro West Industrial Park
      14933 Keel St                               and
      Plymouth, MI 48170
24.                                           Kenji Ito, VP           Trade                            $5,509,700
      Tel: 734-416-1162
      Fax: 734-416-3844                           and

                                           Larry Khaykin, Sr.
                                            Sales Manager

      Applied Bio Systems
      850 Lincoln Centre Drive
      Foster City, CA 94404
25.                                          Ann Wagoner              Trade                            $5,491,366
      Tel: 650-638-6431
      Fax: 650-638-5998

      Alps Automotive Inc
      1500 Atlantic Blvd.
                                             Muneki Ishida,
      Auburn Hills, MI 48326
26.                                          General Sales            Trade                            $5,182,441
                                               Manager
      Tel: 248-393-7626
      Fax: 248-391-1564

      Texas Instruments Inc
      12900 North Meridian Street
      Suite 175 Ms 4070                   Brent Mewhinney, US
27.   Carmel, IN 46032                      Automotive Sales          Trade                            $5,041,608
                                                Manager
      Tel: 317-574-2626
      Fax: 317-573-6410

      Hitachi Automotive

      955 Warwick Rd
      Harrodsburg, KY 40330

      Tel: 248-482-0085                   Darrell Seitz, Senior
28.                                                                   Trade                            $4,979,093
      Fax: 248-474-5097                    Account Manager

      and

      34500 Grand River Avenue
      Farmington Hills, MI 48335
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                                            Person(s) Familiar
       Name, Address, Phone and Fax                                                   Unliquidated     Approximate
                                              with Debtors’         Nature of Claim
              No. of Creditor                                                           and/or        Amount of Claim
                                                 Account
                                                                                       Disputed

      Sharp Electronics Corp
      2613-1, Chinomoto, Cho, Tenri
                                           Akihiko Imaya, Group
      Nara, Japan 632-8567
29.                                           Deputy General            Trade                            $4,974,247
                                                 Manager
      Tel: 81-XXX-XX-XXXX
      Fax: 81-XXX-XX-XXXX

      Semiconductor Components
      2000 S County Trail
      East Greenwich, RI 02818               Lance Williams,
30.                                                                     Trade                            $4,865,672
                                             Director of Sales
      Tel: 734-953-6848
      Fax: 734-953-6860

      TRW Automotive
      12000 Tech Center Drive
      Livonia, MI 48150                       John Nielsen,
31.                                                                     Trade                            $4,821,907
                                              Director, Sales
      Tel: 734-266-3507
      Fax: 734-266-5704

      ISI of Indiana Inc
      1212 East Michigan St.
      Indianapolis, IN 46202
32.                                          Brad Countryman            Trade                            $4,760,039
      Tel: 317-631-7980
      Fax: 317-631-7981

      Traxle Manufacturing Ltd
      25300 Telegraph Rd.
      Ste 450 Raleigh Office Center
                                           Russ Pollack, Director
33.   Southfield, MI 48034                                              Trade                            $4,744,747
                                                 of Sales
      Tel: 248-355-3533
      Fax: 248-355-3558

      Waupaca Foundry Inc
      311 S Tower Rd
      Waupaca, WI 54981-0249
34.                                        Gary Thoe, Chairman          Trade                            $4,684,195
      Tel: 715-258-6611
      Fax: 715-258-1712
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                                           Person(s) Familiar
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                                             with Debtors’      Nature of Claim
              No. of Creditor                                                       and/or        Amount of Claim
                                                Account
                                                                                   Disputed

      Hitachi Chemical Asia Pacific

      Bedok Plant: 20, Bedock South Road
      Singapore, Singapore 469277

      Tel: 6241-9811
      Fax: 5455-407                        Y. Yokoya, Deputy
35.                                                                 Trade                            $4,562,688
                                           Managing Director
      and

      Loyang Plant: 32, Loyang Way
      Singapore, Singapore 508730

      Tel: 6542-8511

      American Axle & Manufacturing
                                             Joel Robinson
      Inc.
                                               President
      One Dauch Drive
36.   Detroit, MI 48211-1198                                        Trade                            $4,525,561
                                                  and
      Tel: 313-758-4217
                                             Bob Finn, CEO
      Fax: 313-974-2870

      TDK Corporation Of America
      1221 Business Center Drive
      Mount Prospect, IL 60056              Frank H. Avant,
37.                                                                 Trade                            $4,466,206
                                               President
      Tel: 847-803-6100
      Fax: 847-803-1125

      Pioneer Industrial Components
      (Pioneer Automotive Electronics
      Sales, Inc.)
      22630 Haggerty Road                   Kevin M. Martin
38.                                                                 Trade                            $4,189,855
      Farmington, MI 48335                  Senior VP, Sales

      Tel: 248-449-6799
      Fax: 248-449-1940

      Fujitsu Ten Corporation
      46029 Five Mile Road
                                           Chet Korzeniewski
      Plymouth, MI 48170
39.                                         V.P., Sales and         Trade                            $4,156,580
                                               Marketing
      Tel: 734-414-6651
      Fax: 734-414-6660
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                                                                                    Contingent,
                                           Person(s) Familiar
       Name, Address, Phone and Fax                                                 Unliquidated     Approximate
                                             with Debtors’        Nature of Claim
              No. of Creditor                                                         and/or        Amount of Claim
                                                Account
                                                                                     Disputed

      Solectron De Mexico SA de CV
      Solectron Invotronics
      26525 American Drive
                                             Ed Mike, Sales
40.   Southfield, MI 48034                                            Trade                            $4,129,744
                                                Manager
      Tel: 248-263-8714
      Fax: 248-263-8701

      TI Group Automotive System
      12345 E Nine Mile
      Warren, MI 48090                     Tim Kuppler, Vice
41.                                                                   Trade                            $3,990,388
                                               President
      Tel: 586-755-8312
      Fax: 586-427-3175

      Timken Company
      31100 Telegraph Road, Suite 270
      Bingham Farms, MI 48025             Brian Ruel, Director,
42.                                                                   Trade                            $3,619,957
                                                 Sales
      Tel: 248-554-4882
      Fax: 248-433-2253

      Engelhard Corporation
      101 Wood Ave
      Iselin, NJ 08830                    Barry Perry, Chairman
43.                                                                   Trade                            $3,577,915
                                                 & CEO
      Tel: 732-205-6497
      Fax: 732-906-0337

      Cataler North America Corp.
      7800 Chihama
      Kakegawa-City Shizuoka, Japan          Hironobu Ono,
44.                                                                   Trade                            $3,462,855
                                               President
      Tel: 81-XXX-XX-XXXX
      Fax: 81-XXX-XX-XXXX

      Pechiney Rolled Products
      39111 W Six Mile Rd.
      Livonia, MI 48152                      Jim Offer, Sales
45.                                                                   Trade                            $3,393,879
                                                Manager
      Tel: 734-632-8484
      Fax: 734-632-8483

      Autocam Corporation
      East Paris Avenue
      Kentwood, MI 49512                    Scott Dekoker,
46.                                                                   Trade                            $3,352,518
                                           Customer Manager
      Tel: 616-541-8551
      Fax: 616-698-6876
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                                                                                Contingent,
                                        Person(s) Familiar
       Name, Address, Phone and Fax                                             Unliquidated     Approximate
                                          with Debtors’       Nature of Claim
              No. of Creditor                                                     and/or        Amount of Claim
                                             Account
                                                                                 Disputed

      Futaba Corp Of America
      2865 Wall Triana Hwy
      Huntsville, AL 35824                Joe M. Dorris,
47.                                                               Trade                            $3,350,622
                                            President
      Tel: 256-461-7348
      Fax: 256-461-7741

      Victory Packaging
      3555 Timmons Lane
      Suite 1440
                                           Robert Egan,
48.   Houston, TX 77027                                           Trade                            $3,327,441
                                            President
      Tel: 713-961-3299
      Fax: 713-961-3824

      Murata Electronics North
      2200 Lake Park Drive
                                        David M. McGinnis,
      Smyrna, GA 30080-7604
49.                                     Director Automotive       Trade                            $3,234,841
                                               Sales
      Tel: 770-433-7846
      Fax: 678-842-6625

      Niles USA Inc                      Michael Rudnicki,
      41129 Jo Drive                     Account Manager
      Novi, MI 48375
                                               and
50.                                                               Trade                            $3,171,181
      Tel: 248-427-9700
      Fax: 248-427-9701                    Scot McColl,
                                           Business Unit
                                             Manager
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       DECLARATION CONCERNING THE DEBTOR’S LIST OF CREDITORS
            HOLDING THE FIFTY LARGEST UNSECURED CLAIMS

                I, John D. Sheehan, am the Vice President and Chief Restructuring Officer of
Delphi Corporation and in such capacity am familiar with the financial affairs of the Debtors. I
have reviewed the foregoing List of Creditors Holding the Fifty Largest Unsecured Claims, and
declare that the information contained therein is true and correct to the best of my knowledge,
belief and understanding.

Dated: October 8, 2005



                                                    s/ John D. Sheehan
                                                    John D. Sheehan
                                                    Vice President and Chief
                                                          Restructuring Officer

                                                          Delphi Corporation
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